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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS
                                      (Boston)

SCANNING TECHNOLOGIES                 )
INNOVATIONS LLC                       )
                                      )
      Plaintiff,                      )                    Case No: 1:19-cv-11000-LTS
                                      )
vs.                                   )                    PATENT CASE
                                      )
SKYCORE, LLC                          )
                                      )
      Defendant.                      )
_____________________________________ )

              PLAINTIFF SCANNING TECHNOLOGIES INNOVATIONS, LLC’S
                  ANSWER TO COUNTERCLAIMS OF SKYCORE, LLC

       Plaintiff Scanning Technologies Innovations LLC (“STI”) respectfully submits this

Answer to the counterclaims asserted by Skycore, LLC (“Skycore”) in its Answer, Affirmative

Defenses, And Counterclaims (“Answer”).

           SKYCORE’s AFFIRMATIVE DEFENSE AND COUNTERLCLAIM

                                        THE PARTIES

1.     STI is without sufficient knowledge to form a belief as to the allegations set forth in

paragraph 1 and, therefore denies the same.

2.     STI admits that STI is a limited liability company in Texas. STI admits that it is owned

by Leigh Rothschild. STI admits that it has sued other defendants for patent infringement. STI

admits that the application leading to the ‘489 Patent was filed June 3, 2014 and that the ‘489

Patent was issued June 9, 2015. STI denies the remaining allegations in paragraph 2.

                               JURISDICTION AND VENUE

3.     Admitted
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4.      Admitted.

5.      Admitted.

                                     COUNTERCLAIM 1

       Declaratory Judgment of Invalidity of the ‘498 Patent under 35 U.S.C. 102, 103

6.      STI incorporates its answers to paragraphs 1-5 herein.

7.      Denied.

8.      Denied.

9.      Denied.

10.     The referenced article speaks for itself. STI denies any remaining allegations contained

in paragraph 10.

11.     Denied.

12.     Denied.

                                     COUNTERCLAIM 2:

              Declaratory Judgment of Patent Ineligibility under 35 U.S.C. 101

13.     STI incorporates its answers to paragraphs 1-12 herein.

14.     Denied.

                                     COUNTERCLAIM 3:

      Declaratory Judgment of Invalidity of Claim 1 et. Seq. of the ‘498 Patent under 35

                         U.S.C. 112 Due to Lack of Antecedent Basis.

15.     STI incorporates its answers to paragraphs 1-14 herein.

16.     Denied.

17.     Claim 1 speaks for itself. STI denies any remaining allegations in paragraph 17.
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18.    Claim 1 speaks for itself. STI denies any remaining allegations in paragraph 18.

19.    Claim 1 speaks for itself. STI denies any remaining allegations in paragraph 18.

20.    Denied.

21.    Denied.

                                    COUNTERCLAIM 4:

          Declaratory Judgment of Unenforceability Due to Inequitable Conduct

22.    STI incorporates its answers to paragraphs 1-21 herein.

23.    Denied.

24.    The ‘498 speaks for itself. STI denies any remaining allegations in paragraph 24.

25.    Admitted.

26.    Admitted.

27.    Denied.

28.    Denied.

29.    Denied.

30.    The ‘366 Application speaks for itself.     STI denies any remaining allegations in

paragraph 30.

31.    The ‘366 Application speaks for itself.     STI denies any remaining allegations in

paragraph 31.

32.    The ‘366 Application speaks for itself.     STI denies any remaining allegations in

paragraph 32

33.    The ‘366 Application speaks for itself.     STI denies any remaining allegations in

paragraph 33.

34.    The ‘366 Application speaks for itself.     STI denies any remaining allegations in
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paragraph 34.

35.    Denied.

36.    STI admits that the referenced art was cited in the ‘366 Application. STI denies any

remaining allegations in paragraph 36.

37.    Denied.

38.    Denied.

39.    Denied.

40.    Denied.

41.    Admitted.

42.    Denied.

43.    Denied.

44.    Denied.

45.    Denied.

46.    The ‘148 Application speaks for itself.    STI denies any remaining allegations in

paragraph 46.

47.    The ‘148 Application speaks for itself.    STI denies any remaining allegations in

paragraph 47.

48.     The ‘148 Application speaks for itself.   STI denies any remaining allegations in

paragraph 48.

49.    The ‘148 Application speaks for itself.    STI denies any remaining allegations in

paragraph 49.

50.    Admitted.

51.    Denied.
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52.    Denied.

53.    Denied.

54.    Denied.

55.    Denied.

56.    STI admits that Rothschild has filed many patent applications. STI denies the remaining

allegations in paragraph 56.

57.    Denied.

58.    The referenced article speaks for itself.    STI denies any remaining allegations in

paragraph 58.

59.    Denied.

60.    Denied.

                                   PRAYER FOR RELIEF

       To the extent that any response is required to the Prayer for Relief, STI denies that

Defendant Skycore, LLC is entitled to judgment or any of the relief it has requested.



Dated: July 24, 2019                         Respectfully submitted,

                                             /s/David A. Chavous
                                             David A. Chavous, Esq.
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                                             ATTORNEYS FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

The undersigned certifies that all counsel of record who have consented to electronic service are
being served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-
5(a)(3) on July 24, 2019.

                                             /s/David A. Chavous
                                             David A. Chavous, Esq.
